         FIRST DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
                 _____________________________

                        No. 1D2023-0728
                 _____________________________

OSCAR E. GONZALEZ,

    Appellant,

    v.

FLORIDA FISH AND WILDLIFE
CONSERVATION COMMISSION,

    Appellee.
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On appeal from the Circuit Court for Leon County.
Angela C. Dempsey, Judge.

                       August 27, 2024


PER CURIAM.

    AFFIRMED.

ROBERTS, WINOKUR, and LONG, JJ., concur.

                 _____________________________

    Not final until disposition of any timely and
    authorized motion under Fla. R. App. P. 9.330 or
    9.331.
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Marie A. Mattox and Ashley N. Richardson of Marie A. Mattox,
P.A., Tallahassee, for Appellant.

Ashley Moody, Attorney General, and Glen A. Bassett, Special
Counsel, Tallahassee, for Appellee.




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